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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF ARIZONA



UNITED STATES OF AMERICA
           Plaintiff,                    Magistrate's Case No.      \C:0--\1~1MJ

               Vs.                       COMPLAINT FOR VIOLATION OF
                                         18 u.s.c. § 555
Jesus Ivan LOPEZ Garcia,                 Conspiracy to Construct a Border
           Defendant.                    Tunnel

YOB: 1979                                Count One
U.S. Citizen




I, the undersigned complainant, being duly sworn, state that the
following is true and correct to the best of my knowledge and belief:

                                  COUNT ONE

On or about August 14, 2018, at or near San Luis, Arizona, within the
District of Arizona and elsewhere, the defendant, Jesus Ivan LOPEZ
Garcia, did knowingly and intentionally combine, conspire, confederate
and agree with other persons unknown, to construct a cross-border
tunnel located at 552 San Luis Plaza Drive, San Luis, Arizona, 85349,
within the District of Arizona, that crossed the international border
between the United States and Mexico, which was. not an authorized
tunnel or passage known to the Secretary of the Department of Homeland
Security and subject     to  inspection by   Irrunigration and Customs
Enforcement (ICE), in violation of Title 18, United States Code,
Sections 555(a) and 555(d).
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